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                           EXHIBIT J
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                       UNITED STATES BANKRUPTCY COURT
                                Southern
  _________________________________________              Texas
                                            District of _________________________________________
       Galleria 2425 Owner, LLC
In re __________________________________________
                                     Debtor
                                                                                               23-34815
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                              11
                                                                                     Chapter ___________
_________________________________________
                                    Plaintiff
                         v.                                                          Adv. Proc. No. ________________
__________________________________________
                                   Defendant

                                        SUBPOENA TO TESTIFY AT A DEPOSITION
                                 IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

        Galleria 2425 Owner, LLC
  To: ________________________________________________________________________________________
                                   (Name of person to whom the subpoena is directed)

  X Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment: See Attachment

  PLACE                                                                                                        DATE AND TIME
 Jones & Murray LLP, 602 Sawyer Street, Suite 400, Houston, TX, 77007                                          June 12, 2024, at 10:00 a.m. (CT)
  The deposition will be recorded by this method:
    Stenographic recording before recording service through person authorized to administer oaths.
      Production: You, or your representatives, must also bring with you to the deposition the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:


          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

  Date: _____________
                                    CLERK OF COURT

                                                                                     OR
                                    ________________________                                 ________________________
                                    Signature of Clerk or Deputy Clerk                           Attorney’s signature


  The name, address, email address, and telephone number of the attorney representing (name of party)
   Christopher R. Murray
  ____________________________       , who issues or requests this subpoena, are: R. J. Shannon, Shannon & Lee LLP
   Shannon & Lee LLP, 2100 Travis St STE 1525, Houston, TX; 713-714-5770; rshannon@shannonleellp.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                                PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .



          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                   ________________________________________________
                                                                                                                  Server’s signature

                                                                                   ________________________________________________
                                                                                                                Printed name and title


                                                                                   ________________________________________________
                                                                                                                  Server’s address


Additional information concerning attempted service, etc.:
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                         ATTACHMENT

                                      DEPOSITION TOPICS

          Pursuant to Fed. R. Civ. P. 30(b)(6), Christopher R. Murray (the “Trustee”), the chapter 11

Trustee in the above-captioned case, will conduct a deposition of Galleria 2425 Owner, LLC on

the following topics (the “Topics”) indicated below.

                                             Definitions

          The following definitions of terms apply to the Topics. Unless otherwise defined herein,

all words and phrases used herein shall be accorded their usual meanings and shall be interpreted

in their common, ordinary sense.

          1.     “2425 WL” means 2425 WL, LLC, along with its agents, employees, attorneys,

representatives, affiliates, consultations, and all other persons acting or purporting to act on its

behalf.

          2.     “2425 WL DOT” means the ‘Deed of Trust’ between the Debtor and 2425 WL filed

in the real property records of Harris County on May 11, 2021.

          3.     “2425 WL Note” means the notice indicated in the 2425 WL DOT.

          4.     “Affiliate” has the meaning set forth in 11 U.S.C. § 101(2).

          5.     The terms “Communication” or “Communications” means the statement or

transmission of facts, information, advice, counsel, and/or inquiry from one person to another,

whether orally, in writing, by acts or actions, by signs, by appearances, electronically,

telephonically, or otherwise.

          6.     “Choudhri” means the individual commonly referred to as Ali Choudhri who

asserts to be in control of the Debtor and has appeared in his individual capacity in the Current
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Chapter 11 Case and his agents, employees, attorneys, representatives, consultants, and all other

persons acting or purporting to act on his behalf.

       7.      “Current Chapter 11 Case” means Case No. 23-24815 before the United States

Bankruptcy Court for the Southern District of Texas.

       8.      “Confidential Settlement Agreement” the Document titled ‘Confidential Settlement

Agreement’ dated August 22, 2022, and signed by (a) Marwan Isbaih on behalf of NBK, (b)

Choudhri on behalf of the Debtor, (c) Choudhri on behalf of Naissance Galleria, LLC., and (d)

Choudhri in his individual capacity.

       9.      “Debtor,” “You,” “Your”, or Yours” means Galleria 2425 Owner, LLC, along with

its agents, employees, attorneys, representatives, affiliates, consultants, and all other persons acting

or purporting to act on its behalf.

       10.     “Document” shall be given the broadest possible interpretation consistent with the

applicable rules of procedure, including but not limited to, the original or a copy of any graphic

material of any kind or nature whatsoever, including electronically stored information, however

produced or reproduced, any writing, drawing, graph, chart, photograph, telephone record, tape

recording, video tape, or other data compilation in which information can be reproduced or

obtained, including computer tapes, disks, storage devices, or print-outs, which are in your

possession, custody, control, or known by you to exist, including, without limiting the generality

of the foregoing, all drafts, contracts, diaries, calendars, desk pads, correspondence,

communications, emails, memoranda, notes, studies, reports, lists, minutes, and entries in books

of any account relating or referring in any way to the subject matter of these requests. The term

“Document” shall also mean all copies of a documents by whatever means made, except where a




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document is identified or produced, identical copies which do not contain any markings, additions,

or deletions, different from the original document, need not be separately identified or produced.

          11.   “Jetall” means Jetall Companies, Inc. along with its agents, employees, attorneys,

representatives, affiliates, consultants, and all other persons acting or purporting to act on its

behalf.

          12.   “Jetall Lease” means the ‘Lease Agreement’ dated May 13, 2015, between 2425

West Loop, LP and Jetall and subsequent amendments thereto.

          13.   “Jetall Lease 2016 Amendment” means the ‘First Amendment to Lease

Agreement,’ dated April 6, 2018, between 2425 WL and Jetall.

          14.   “Jetall Lease 2019 Amendment” means the ‘Second Amendment to Lease

Agreement,’ dated February 1, 2019, between the Debtor and Jetall.

          15.   “Jetall Lease 2022 Amendment” means the ‘Third Amendment to Lease

Agreement,’ dated August 1, 2022, between the Debtor and Jetall.

          16.   “Naissance Galleria” means Naissance Galleria, LLC along with its agents,

employees, attorneys, representatives, affiliates, consultants, and all other persons acting or

purporting to act on its behalf.

          17.   “NBK” means the National Bank of Kuwait, S.A.K.P., New York Branch, along

with its agents, employees, attorneys, representatives, affiliates, consultants, and all other persons

acting or purporting to act on its behalf.

          18.   “NBK Loan” means the Loan Agreement dated May 23, 2018, among the Debtor

and NBK and any Documents effectuating the transaction pursuant thereto, including (a) the

‘Promissory Note’ dated May 23. 2018, issued by the Debtor to NBK; (b) the ‘Deed of Trust,

Assignment of Rents and Profits, Security Agreement, and Fixture Filing’ dated May 23, 2018,



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among the Debtor and NBK; and (c) the ‘Absolute Assignment of Leases and Rents’ dated May

23, 2018, between the Debtor and NBK.

        19.     “Person” has the meaning set forth in 11 U.S.C. § 101(41).

        20.     “Real Property” means the real property located at 2425 West Loop South,

Houston, TX, 77027, including the building and all other improvements thereon.

        21.     “Settlement Statement” means the document titled ‘Settlement Statement’

reflecting the transaction in which the Debtor acquired the Real Property.

        22.     “Trustee” means Christopher R. Murray

        23.     The terms “and” and “or” shall be interpreted in every instance as meaning “and/or”

and shall not, in either instance, be interpreted disjunctively to exclude any document or

information otherwise within the scope of any description or request herein.

                                              Topics

        1.      Your current and historic ownership, organizational, and management structure.

        2.      The facts and circumstances surrounding Your acquisition of the Real Property

from 2425 WL, including any financing related thereto.

        3.      The facts and circumstances surrounding the 2425 WL DOT, including its (a)

creation, (b) execution, and (c) filing.

        4.      The facts and circumstances surrounding the 2425 WL Note, including its (a)

creation, (b) execution, and (c) any consideration provided.

        5.      The Jetall Lease 2018 Amendment, Jetall Lease 2019 Amendment, and Jetall Lease

2022 Amendment, including any disclosure or approval thereof.

        6.      Facts and circumstances surrounding Your allegation that NBK breached the

Confidential Settlement Agreement.



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        7.       Your efforts to market the Real Property for sale since August 22, 2022, and the

results of any such marketing process.

        8.       The facts and circumstances surrounding any offers or indications of interest to

purchase the Real Property or NBK’s position from August 22, 2022, to the present, including (a)

the entities involved, (b) their relationship to the Debtor or Choudhri, and (c) any Documents

reflecting such offers or indications of interest.

        9.       Your negotiations with Paul Caldwell regarding any potential acquisition of the

Real Property.

        10.      The facts and circumstances surrounding Your allegations that Azeemah Zaheer

assigned control over Naissance Galleria, including (a) any Documents or Communications

reflecting or evidencing such assignment and (b) the execution of any such Documents.

        11.      Any Document produced by or requested from You in advance of the Deposition.




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